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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION

  MARY YOLANDA TRIGIANI,                    )
                                            )
                   Plaintiff,               )
                                            )
                                            )     Case No. 1:21CV00001
                                            )
  v.                                        )           JUDGMENT
                                            )
  NEW PEOPLES BANK, INC.,                   )     JUDGE JAMES P. JONES
                                            )
                   Defendant.               )



       A Motion for Summary Judgment having been granted, it is ADJUDGED

 AND ORDERED that final judgment on the merits is entered in favor of the

 defendant New Peoples Bank, Inc.

       The Clerk shall close the case.

                                          ENTER: April 20, 2022

                                          /s/ JAMES P. JONES
                                          Senior United States District Judge
